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 11
 22
 33
 44                                UNITED STATES DISTRICT COURT

 55                              WESTERN DISTRICT OF WASHINGTON
                                                AT SEATTLE
 66
 77
      ERIC SMITH, individually and on behalf of             No.
 88   all others similarly situated,
 99
                              Plaintiff,                    COMPLAINT—CLASS ACTION
10
10
11
11            v.

12
12    REDBOX AUTOMATED RETAIL, LLC, a
13
13    Delaware limited liability company; and
      MESSAGE MEDIUMS, LLC, an Illinois
14
14
      limited liability company,
15
15
                              Defendants.
16
16
17
17
18
18           1.       Plaintiff Eric Smith brings this class action complaint against Defendants Redbox
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19 Automated Retail, LLC (“Redbox”) and Message Mediums, LLC (“Message Mediums”)
20
20 (collectively, “Defendants”) to stop their practice of transmitting unauthorized text message calls
21
21 to the cellular telephones of consumers and to obtain redress for all persons injured by
22
22 Defendants’ conduct. Plaintiff alleges as follows on personal knowledge as to himself and his
23
23 own acts and experiences and, as to all other matters, upon information and belief, including
24
24 investigation conducted by his attorneys.
25
25                                         NATURE OF THE ACTION
26
26           2.       Wireless spam is a growing problem in the United States. According to a recent
27
27 study conducted by the Pew Research Center, “Spam isn’t just for email anymore; it comes in
28                                                                              L AW O FFICES OF
      COMPLAINT—CLASS ACTION                                            C LIFFORD A. C ANTOR , P.C.
      Case No.
                                                     -1-                         627 208th Ave. SE
                                                                           Sammamish, WA 98074-7033
                                                                    Tel: (425) 868-7813 ● Fax: (425) 732-3752
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 11 the form of unwanted text messages of all kinds—from coupons to phishing schemes—sent
 22 directly to user’s cell phones.” In fact, “57% of adults with cell phones have received unwanted
 33 or spam text messages on their phone.” Amanda Lenhart, Cell Phones and American Adults:
 44 They Make Just as Many Calls, but Text Less than Teens, Pew Research Center (2010) at
 55 http://pewinternet.org/Reports/2010/Cell-Phones-and-American-Adults.aspx.
 66          3.       In an effort to promote its automated media rental kiosks, Defendant Redbox
 77 engaged Defendant Message Mediums to conduct a solicitation by transmission of unauthorized
 88 advertisements in the form of “text message” calls to the cellular telephones of consumers
 99 throughout the nation.
10
10           4.       By effectuating these unauthorized text message calls (hereinafter, “wireless
11
11 spam”), Defendants have caused consumers actual harm, not only because consumers were
12
12 subjected to the aggravation that necessarily accompanies wireless spam but also because
13
13 consumers frequently have to pay their cell phone service providers for the receipt of such
14
14 wireless spam.
15
15           5.       In order to redress these injuries, Plaintiff brings suit under (i) the Telephone
16
16 Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”), which prohibits unsolicited voice and text
17
17 calls to cell phones; and the Washington Consumer Protection Act, RCW § 19.86.010 et seq.
18
18 (“WCPA”), for Defendants’ practice of transmitting and/or assisting in the transmission of
19
19 electronic commercial text messages in violation of RCW § 19.190.060.
20
20           6.       Plaintiff, individually and on behalf of all others similarly situated, seeks an
21
21 injunction requiring Defendants to cease all wireless spam activities and an award of actual,
22
22 statutory, and/or treble damages, together with expenses and reasonable attorneys’ fees.
23
23                                                 PARTIES
24
24           7.       Plaintiff Eric Smith is a natural person and a resident of the State of Washington
25
25 living in Seattle, Washington.
26
26           8.       Defendant Redbox is a Delaware limited liability company, with its principal
27
27 place of business located in Illinois. Redbox is a media rental company that does business
28                                                                                 L AW O FFICES OF
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 11 throughout the United States, Washington, and this District.
 22          9.       Defendant Message Mediums is an Illinois corporation with its principal place of
 33 business located in Illinois. Message Mediums is a mobile marketing company that provides
 44 mobile content delivery. It does business throughout the United States, including this District.
 55                                    JURISDICTION AND VENUE
 66          10.      The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.
 77 § 1331 because Plaintiff’s claims arise under the laws of the United States and, further, pursuant
 88 to 28 U.S.C. § 1332(d), because (a) at least one member of the putative class is a citizen of a
 99 state different from Defendants, (b) the amount in controversy exceeds $5,000,000, exclusive of
10
10 interest and costs, and (c) none of the exceptions under that subsection apply.
11
11           11.      This Court has personal jurisdiction over Defendants because both Defendants
12
12 conduct significant operations and sales in Washington, including soliciting consumer business
13
13 and entering into consumer transactions. Further, the acts alleged in this complaint originated in
14
14 Washington and in this District.
15
15           12.      Venue is proper in this District under 28 U.S.C. § 1391(a) because Plaintiff’s
16
16 claims arose in this District; both Defendants transact significant business in this District,
17
17 including soliciting consumer business and entering into consumer transactions either for their
18
18 own account or on behalf of their customers; and the acts alleged in this complaint originated in
19
19 this District.
20
20                                FACTS COMMON TO ALL COUNTS
21
21           13.      In recent years, companies like Defendants have increasingly used “Short
22
22 Message Service” alerts to distribute bulk advertisements directly to consumers’ cellular
23
23 telephones. The term “Short Message Service” or “SMS” describes a messaging system that
24
24 allows cellular telephone subscribers to use their cellular telephones to send and receive short
25
25 text messages, usually limited to 160 characters.
26
26           14.      An “SMS message” is a text message call directed to a wireless device through
27
27 the use of the telephone number assigned to the device. When an SMS message call is
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 11 successfully made, the recipient’s cell phone alerts him or her that a call is being received.
 22          15.      SMS calls can cost their recipients money because cell phone users must
 33 commonly pay their respective wireless service providers either for each text message call they
 44 receive or for a usage allocation deduction to their text-messaging plan, regardless of whether the
 55 message is authorized.
 66          16.      Over the course of an extended period beginning in at least 2010, Defendants
 77 directed the mass transmission of wireless spam to the cell phones of consumers nationwide.
 88          17.      For instance, during the relevant period, Defendants called Plaintiff’s cellular
 99 telephone number, which is assigned to a cellular telephone service for which Plaintiff incurs a
10
10 charge for incoming calls.
11
11           18.      The “from” field of such transmission was identified cryptically as “727272,”
12
12 which is an abbreviated telephone number known as an SMS short code and which is operated
13
13 by Defendants. The body of such text message read:
14
14
                     Welcome to the Redbox Text Club! Get the Redbox iPhone & Android
15
15                    app @ http://ix.ly.rba. Msg&data rates may apply. Txt HELP 4info
16
16                                              Txt STOP 2end.

17
17           19.      Shortly after receiving the above message, Plaintiff replied “STOP,” thereby
18
18 indicating he did not provide any prior express consent to Defendants to send such text messages
19
19 to his cellular telephone and rescinding any such prior consent if it existed.
20
20           20.      Despite having expressly informed Defendants to discontinue the transmission of
21
21 text messages to his cellular telephone, Defendants sent yet another unsolicited text message to
22
22 Plaintiff that same day, which again originated from short code 727272 and read as follows:
23
23
                    You are now unsubscribed from REDBOXALERTS, sorry to see you go.
24
24                    For more info, visit http://ix.ly/727272. Msg&data rates may apply.
25
25
             21.      At no time did Plaintiff consent to the receipt of such text message calls from
26
26
      Defendants.
27
27
28                                                                                L AW O FFICES OF
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 11                                        CLASS ALLEGATIONS
 22          22.       Plaintiff brings this action pursuant to Rule 23(a) and 23(b)(2) and (b)(3) of the
 33 Federal Rules of Civil Procedure, on behalf of himself and three classes (the “Classes”) defined
 44 as follows:
 55
 66          (i)       Redbox Class: All persons in the United States and its Territories who received
 77          one or more unauthorized text-message solicitations on behalf of Redbox.
 88
 99          (ii)      Message Mediums Class: All persons in the United States and its Territories who
10
10           received one or more unauthorized text-message solicitations on behalf of Message
11
11           Mediums.
12
12
13
13           (iii)     Washington State Class: All Washington residents who received one or more
14
14           unauthorized text-message solicitations on behalf of Defendants.
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15
16
16 Excluded from the Classes are (1) Defendants, Defendants’ agents, subsidiaries, parents,
17
17 predecessors, and any entity in which Defendants or their parents have a controlling interest and
18
18 its current and former employees, officers, and directors, (2) the Judge or Magistrate Judge to
19
19 whom this case is assigned and the Judge’s or Magistrate Judge’s immediate family, (3) persons
20
20 who timely request exclusion, (4) persons whose claims in this matter have been finally
21
21 adjudicated on the merits or otherwise released, and (5) the legal representatives, successors, or
22
22 assigns of any such excluded person.
23
23           23.       Numerosity: The exact numbers of the members of the Classes are unknown and
24
24 not available to Plaintiff at this time, but on information and belief, there are thousands of
25
25 individuals who fall within the definitions of the Classes, making joinder of each individual
26
26 member impracticable. Ultimately, the members of the Classes will be easily identified through
27
27 Defendants’ records.
28                                                                                 L AW O FFICES OF
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 11          24.     Typicality: Plaintiff’s claims are typical of the claims of other members of the
 22 Classes. Plaintiff and other members sustained damages arising out of the wrongful conduct of
 33 Defendants—the same transmission of wireless spam to Plaintiff and the Classes.
 44          25.     Adequate Representation: Plaintiff will fairly and adequately represent and
 55 protect the interests of the Classes and has retained counsel competent and experienced in
 66 complex litigation and class actions. Plaintiff has no interest antagonistic to those of the Classes,
 77 and Defendants have no defenses unique to Plaintiff. Plaintiff and his counsel are committed to
 88 vigorously prosecuting this action on behalf of the members of the Classes, and they have the
 99 financial resources to do so. Neither Plaintiff nor his counsel have any interest adverse to those
10
10 of the other members of the Classes.
11
11           26.     Commonality and Predominance: Common questions of law and fact exist as to
12
12 all members of the Classes and predominate over any questions affecting only individual
13
13 members, including:
14
14                   a)     whether Defendants’ conduct constitutes a violation of the TCPA;
15
15                   b)     whether Defendants’ conduct constitutes a violation of the WCPA; and
16
16                   c)     whether members of the Classes are entitled to treble damages based
17
17                          upon the willfulness of Defendants’ conduct.
18
18           27.     Superiority: This class action is appropriate for certification because class
19
19 proceedings are superior to all other available methods for the fair and efficient adjudication of
20
20 this controversy and joinder of all members of the Classes is impracticable. The damages
21
21 suffered by the individual members of the Classes are small relative to the burden and expense of
22
22 individual prosecution of the complex litigation necessitated by Defendants’ actions. Thus, it
23
23 would be virtually impossible for the members of the Classes to obtain effective relief from
24
24 Defendants’ misconduct. Even if members of the Classes themselves could sustain such
25
25 individual litigation, it would not be preferable to a class action because individual litigation
26
26 would increase the delay and expense to all parties due to the complex legal and factual
27
27 controversies presented in this Complaint. By contrast, a class action presents far fewer
28                                                                              L AW O FFICES OF
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 11 management difficulties and provides the benefits of single adjudication, economy of scale, and
 22 comprehensive supervision by a single court. Economies of time, effort, and expense will be
 33 fostered and uniformity of decisions will be ensured.
 44             28.      Policies Generally Applicable to the Classes: This action is also appropriate for
 55 class certification because Defendants have acted or refused to act on grounds generally
 66 applicable to the Classes, thereby requiring the Court’s imposition of uniform relief to ensure
 77 compatible standards of conduct toward the members of the Classes and making final injunctive
 88 relief appropriate with respect to the Classes as a whole. Defendants’ policies challenged herein
 99 apply and affect members of the Classes uniformly and Plaintiff’s challenge of these policies
10
10 hinges on Defendants’ conduct with respect to the Classes as a whole, not on facts or law
11
11 applicable only to Plaintiff.
12
12              29.      Plaintiff reserves the right to revise the foregoing “Class Allegations” and
13
13 “Definitions of the Classes” based on facts learned through discovery.
14
14
                                                      COUNT I
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15
                              Violation of the Telephone Consumer Protection Act,
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                                                   47 U.S.C. § 227
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                      (on Behalf of Plaintiff and the Redbox and Message Mediums Classes)
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18
                30.      Plaintiff incorporates by reference the foregoing allegations as if fully set forth
19
19
      herein.
20
20
                31.      Defendants made unsolicited commercial text calls, including the messages
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21
      transcribed above, to the wireless telephone numbers of Plaintiff and other members of the
22
22
      Redbox and Message Mediums Classes. Each such text message call was made using equipment
23
23
      that had the capacity to store or produce telephone numbers using a random or sequential number
24
24
      generator and to dial such numbers. By using such equipment, Defendants were able to
25
25
      effectively send text messages simultaneously to thousands of wireless telephone numbers
26
26
      without human intervention.
27
27
28                                                                                   L AW O FFICES OF
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 11           32.     The text calls were made en masse through the use of a short code and without the
 22 prior express consent of Plaintiff and the other members of the Redbox and Message Mediums
 33 Classes.
 44           33.     Defendants have, therefore, violated the TCPA, 47 U.S.C. § 227(b)(1)(A)(iii). As
 55 a result of Defendants’ unlawful conduct, Plaintiff and the members of the Redbox and Message
 66 Mediums Classes have suffered actual damages by, inter alia, having to pay their respective
 77 wireless carriers for the text messages where applicable and, under 47 U.S.C. § 227(b)(3)(B), are
 88 entitled to, inter alia, a minimum of $500 in statutory damages for each such violation of the
 99 TCPA.
10
10            34.     Should the Court determine that Defendants had knowledge that Plaintiff and the
11
11 other members of the Redbox and Message Mediums Classes did not consent to the receipt of the
12
12 wireless spam described above, the Court should, pursuant to 47 U.S.C. § 227(b)(3)(C), treble
13
13 the amount of statutory damages recoverable by Plaintiff and the other members of the Redbox
14
14 and Message Mediums Classes.
15
15
                                                   COUNT II
16
16
                           Violation of the Washington Consumer Protection Act,
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17
                                            RCW § 19.86.010 et seq.
18
18
                                (on Behalf of Plaintiff and the Washington Class)
19
19
              35.     Plaintiff incorporates by reference the foregoing allegations 1 through 30 as if
20
20
      fully set forth herein.
21
21
              36.     At all relevant times, Plaintiff has been a Washington resident and Plaintiff and
22
22
      the Washington Class have been entitled to the rights, protections, and benefits under the WCPA
23
23
      and other Washington statutes.
24
24
              37.     Defendants’ practice of transmitting and/or assisting in the transmission of
25
25
      electronic commercial text messages to Plaintiff and members of the Washington Class’s cellular
26
26
      phones is a violation of RCW § 19.190.060.
27
27
28                                                                               L AW O FFICES OF
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 11          38.     Defendants’ practice of transmitting and/or assisting in the transmission of
 22 electronic commercial text messages to Plaintiff and members of the Washington Class’s cellular
 33 phones does not fall within any exception allowed under RCW § 19.190.070.
 44          39.     By statute, Defendants’ violations of RCW § 19.190.060 are per se violations of
 55 the WCPA.
 66          40.     Defendants’ practice of transmitting and/or assisting in the transmission of
 77 electronic commercial text messages to Plaintiff and members of the Washington Class’s cellular
 88 phone is conduct that vitally affects the public interest and is an unfair or deceptive act in trade
 99 or commerce and an unfair method of competition.
10
10           41.     Defendants conducted these practices in the scope of their trade and commerce
11
11 and both Defendants conduct business in Washington.
12
12           42.     The text calls were made en masse through the use of a short code and without the
13
13 prior express consent of Plaintiff and the other members of the Washington Class and/or after
14
14 Plaintiff and the other members of the Washington Class indicated that he or she was not willing
15
15 to receive further commercial text messages from Defendants.
16
16           43.     As a direct result of Defendants’ violations of RCW § 19.190.060, Plaintiff and
17
17 members of the Washington Class were injured in their business or property by, inter alia,
18
18 having to pay their respective wireless carriers for the text messages where applicable and having
19
19 the limited memory of their cellular phones exhausted by unwanted text messages. See RCW
20
20 § 19.190.070.
21
21           44.     Defendants’ practices are emblematic of organization policies and agreements
22
22 among the Defendants and others which have caused and, if unabated, will continue to cause
23
23 incidents, occurrences, and conduct which violate RCW § 19.190.060 and the WCPA.
24
24           45.     Plaintiff and members of the Washington Class are entitled to, inter alia, a
25
25 minimum of $500 in statutory damages for each commercial electronic text message that
26
26 Defendants sent to them in violation of RCW ch. 19.190. See RCW § 19.190.040(1). Under the
27
27 WCPA, the Court may and should treble such damages.
28                                                                               L AW O FFICES OF
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11         46.       Plaintiff and members of the Washington Class also seek an injunction enjoining
22 Defendants from sending wrongful commercial text messages.
33         47.       Plaintiff and members of the Washington Class are further entitled to all
44 attorneys’ fees, expenses, and other damages as otherwise permitted.
55                                        PRAYER FOR RELIEF
66         Plaintiff Eric Smith, individually and on behalf of the Classes, requests that the Court
77 enter an order:
88         A.        Certifying this case as a class action on behalf of the Classes defined above;
99         B.        Awarding actual damages, statutory damages, and treble damages in amounts to
10
10                   be proved;
11
11         C.        Requiring Defendants to cease all wireless spam activities;
12
12         D.        Awarding reasonable attorneys’ fees and expenses; and
13
13         E.        Awarding such further and other relief the Court deems reasonable and just.
14
14                                            JURY DEMAND
15
15         Plaintiff demands a trial by jury of all matters so triable.
16
16         Dated: August 23, 2012                  Respectfully submitted,
17
17
                                                   s/ Cliff Cantor
18
18                                                 Cliff Cantor, WSBA # 17893
                                                   LAW OFFICES OF CLIFFORD A. CANTOR, P.C.
19
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22
                                                   Counsel for Plaintiff
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28                                                                              L AW O FFICES OF
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